 1   STRUCK LOVE BOJANOWSKI & ACEDO, PLC
     Daniel P. Struck, AZ Bar #012377
 2   (admitted pro hac vice)
     Rachel Love, AZ Bar #019881
 3   (admitted pro hac vice)
     Nicholas D. Acedo, AZ Bar #021644
 4   (admitted pro hac vice)
     Ashlee B. Hesman, AZ Bar #028874
 5   (admitted pro hac vice)
     Jacob B. Lee, AZ Bar #030371
 6   (admitted pro hac vice)
     3100 West Ray Road, Suite 300
 7   Chandler, Arizona 85226
     Tel.: (480) 420-1600
 8   Fax: (480) 420-1695
     dstruck@strucklove.com
 9   rlove@strucklove.com
     nacedo@strucklove.com
10   ahesman@strucklove.com
     jlee@strucklove.com
11
     LAW OFFICE OF ETHAN H. NELSON
12   Ethan H. Nelson, CA Bar #262448
     4 Park Plaza, Suite 1025
13   Irvine, California 92614
     Tel.: (949) 229-0961
14   Fax: (949) 861-7122
     ethannelsonesq@gmail.com
15
     Attorneys for Defendant/Counter-Claimant
16   CoreCivic, Inc.
17                            UNITED STATES DISTRICT COURT
18                         SOUTHERN DISTRICT OF CALIFORNIA
19   Sylvester Owino and Jonathan Gomez,       NO. 3:17-cv-01112-JLS-NLS
     on behalf of themselves, and all others
20   similarly situated,                       INDEX TO EXHIBITS
21                       Plaintiffs,
22   v.
23   CoreCivic, Inc., a Maryland
     corporation,
24
                         Defendant.
25

26

27

28
     Index to Exhibits                                            17cv01112-JLS-NLS
 1   CoreCivic, Inc., a Maryland
     corporation,
 2
                         Counter-Claimant,
 3
     v.
 4
     Sylvester Owino and Jonathan Gomez,
 5   on behalf of themselves, and all others
     similarly situated,
 6
                         Counter-Defendants.
 7

 8
     EXHIBIT DESCRIPTION                                                  PAGES
 9
          1        “‘I Don’t Want to Die’: Asylum Seekers, Once in        001–008
10                 Limbo, face Deportation Under Trump”, published in
11                 the New York Times on April 21, 2019

12        2        October 17, 2018 e-mail from Jacob Lee to Alan         009–010
                   Ouellette and Geoffrey Raux
13
          3        October 15, 2015 Letter from Deborah M. Johnson to       011
14                 Bart VerHulst (CCOG00006335)
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EXHIBIT 1




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             ‘I Don’t Want to Die’:
             Asylum Seekers, Once in
             Limbo, Face Deportation
             Under Trump




                             EXHIBIT 1
                               001
   Indra Sihotang, 52, with his wife and their children in their Queens home. Mr. Sihotang, an asylum seeker, was granted a temporary reprieve
   from deportation by the Obama administration. President Trump revoked that safeguard. Elias Williams for The New York Times



                             By Christina Goldbaum

                             April 21, 2019                                                                       76


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                             inbox.]

                             Indra Sihotang was desperate to stay in New York. Minutes from being
                             deported to Indonesia, the 52-year-old father clung to a chair bolted to the
                             floor at Kennedy International Airport, struggling against four immigration
                             officers trying to tear him away.

                                                                     EXHIBIT 1
                                                                       002
By the end of the confrontation, his face was bloody and bruised. But
neither Mr. Sihotang, nor another immigrant in the officers’ custody who
watched the incident unfold, was allowed onto the plane after the pilot
raised security concerns.

“I kept trying to explain to them that the conditions in my country are very
bad now,” Mr. Sihotang said. “I was telling them, ‘I don’t want to die
there.’”

Mr. Sihotang had lost his fight to receive asylum in the United States a
decade ago, a decision he did not appeal after he and thousands like him
were granted a temporary reprieve from deportation by the Obama
administration. Days after assuming office, President Trump revoked that
protection, making Mr. Sihotang and thousands of other asylum seekers
suddenly eligible for deportation, though many did not realize it.
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Even as Mr. Trump has sought in recent days to limit who can apply for
asylum, and to expand indefinite detention for asylum seekers, his
administration has with little public notice been carrying out a crackdown
on people who asked for asylum, did not receive it and remained in the
United States.

The policy, which often involves seeking out immigrants who have been in
the country for years in a legal gray area, shows how the Trump
administration aims to reverse what it believes are the misguided policies
of the Obama administration.

Immigration agents have been especially active in New York City.
Deportations of immigrants with no criminal convictions, including asylum
seekers with years- or decades-old deportation orders, rose to 1,144 in the
2018 federal fiscal year from 313 in 2016, a 266 percent increase, according
to a recent report from the city comptroller.

That is the largest percentage increase of any Immigration and Customs
Enforcement field office in the country.

The Trump administration said ICE agents are following the law in trying
to return asylum seekers who have lost their cases on the merits and have
no right to remain in the country.

                                EXHIBIT 1
                                  003
                                      ADVERTISEMENT




But as these people are caught in a deportation dragnet, they risk being
sent to countries where the persecution threats they face are even greater
than when they fled to the United States, asylum seekers and lawyers say.

In the final years of the Obama administration, immigration judges were
instructed to use prosecutorial discretion to grant some undocumented
immigrants, such as asylum seekers who had lost their cases, the ability to
stay and work in the United States legally as long as they regularly checked
in with ICE.

These enforcement policies were designed to focus ICE’s limited resources
on deporting unauthorized immigrants who had criminal convictions,
recently crossed the border or posed a threat to national security.

Until Mr. Trump came into office, asylum seekers like Mr. Sihotang “had
no reason to try to reopen their asylum case because they were permitted to
stay and work in this country,” Amber Gracia, an immigration lawyer in
Texas, said. “When the government suddenly seeks removal, these people
are caught off guard.”

She questioned why agents were focusing on deporting undocumented
immigrants who had not broken the law, rather than focusing on violent
criminals in the country illegally.

ICE officials said that as long as there was a standing deportation order for
an individual, there would be legal grounds to take that person into
custody.

“The U.S. government provides all those in removal proceedings with an
opportunity to apply and be considered for relief from removal,” an ICE
spokeswoman, Rachael Yong Yow, said in a statement. “If an immigration
judge finds an individual ineligible for any form of relief, the judge will
issue a final order of removal, which ICE carries out in accordance with
applicable U.S. law.”
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                                   004
                                 ADVERTISEMENT




She said she could not comment on specific cases.

After losing his original asylum case five years ago, Mr. Sihotang lived and
worked legally in New York City and watched as the persecution of
Christians like him intensified in Indonesia.

When he arrived for his biannual check-in with ICE — a condition of his
reprieve — in summer 2017, he said he had thought that it would proceed
like every other: He would update his home address, provide his work
address and confirm that he had not been arrested or convicted of a crime.




                                EXHIBIT 1
                                  005
In 2017, Mr. Sihotang clung to a chair at Kennedy International Airport and struggled against immigration officers trying to tear him away. Elias Williams
for The New York Times
                             But this time, the ICE officer asked him to renew his passport and return to
                             the ICE office. When he returned with the new passport, ICE took him into
                             custody.

                             Only when ICE drove him to Kennedy Airport four weeks later did Mr.
                             Sihotang realized why the ICE officer had requested that he renew his
                             passport: The plan was to put him on a commercial flight to Indonesia.

                             “I was shocked,” Mr. Sihotang said. “I was thinking about my kids. I told
                             them, ‘I’ve got four kids and my family. How will they survive without
                             me?’”

                             Months after the confrontation at the boarding gate last year, ICE again
                             tried to deport Mr. Sihotang. But this time, as he sat in a van minutes away
                             from the airport, an ICE officer received a call telling him to stop the
                                                                       EXHIBIT 1
                                                                         006
deportation.
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A judge had determined Mr. Sihotang faced credible fears of persecution in
Indonesia and reopened his asylum case, which remains unresolved.

The asylum seeker who watched Mr. Sihotang’s first airport confrontation
requested that he be identified only by his nickname, Neo, and that his
home country not be named for fear of persecution. He was deported from
New York weeks after that encounter, despite last-minute attempts to
reopen his asylum case.

“I didn’t do anything criminal,” Neo said, breaking into tears. “I didn’t do
anything wrong, then suddenly they just sent me back.”

One aspect of Neo’s asylum case, he and his lawyer said, was a medical
condition he had developed for which he needed daily medication
unavailable in his home country. When he boarded his deportation flight to
East Asia, he said he had three weeks’ worth of the medication left. So, he
said, he started to ration it: Take one pill. Skip a day. Take another.

“I was worried I was going to die,” he said.

His only hope was his lawyer in the United States, who had filed an appeal
to the Board of Immigration Appeals, the highest immigration court in the
country.

The board determines whether an asylum seeker’s claim has new merits
and can issue an order preventing ICE from deporting an immigrant while
that decision is made.

Since Mr. Trump came into office, more immigrants are making requests to
the board to temporarily prevent a deportation.
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                                 EXHIBIT 1
                                   007
                            But the denial rate for those requests has sharply increased, according to
                            analysis by the Benjamin N. Cardozo School of Law in New York.

                            Steven Stafford, a spokesman for the Justice Department, said judges on
                            the board “apply the law to the facts of the case before them.”

                            When the board grants these requests, it is often only hours before an
                            immigrant is scheduled to board a deportation flight, lawyers say. Some
                            asylum seekers have even had their cases reopened after they have been
                            deported.

                            Last spring, Neo was brought back to the United States by ICE after the
                            board agreed to reopen his asylum case.

                            Still, not everyone is as lucky.

                            Immigration lawyers pointed to the circumstances of a Bangladeshi man
                            who requested that he be identified only by his given name, Mahbub,
                            because of an unresolved asylum case. He was granted permission to stay
                            in the United States until the board reconsidered his case. He had sought
                            asylum on the grounds that he was being persecuted over his political
                            affiliation.

                            But the panel’s decision, which arrived in his lawyer’s inbox at 9 a.m., came
                            four hours too late: At 5 a.m., he had been put on a flight to Bangladesh.

                            When he arrived in the Bangladeshi capital, Dhaka, he said he called his
                            mother who, distraught, told him that he could not come to their home.
                            One of his friends in the opposition party, in which Mahbub was an activist,
                            had been arrested in the months before his return.
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                            Fearing he faced the same fate, Mahbub, 36, said that he went into hiding.
                            Months later, he paid a smuggler to help make his way to France, where he
                            sought asylum.

                            “I’m just happy I stayed alive,” Mahbub said.

Follow Christina Goldbaum on Twitter:@cegoldbaum.
A version of this article appears in print on April 22, 2019, Section A, Page 1 of the New York edition with the headline: Asylum Seekers Got Relief.
Then ICE Moved In.. Order Reprints | Today’s Paper | Subscribe
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                                                                     EXHIBIT 1
                                                                       008
EXHIBIT 2




EXHIBIT 2
From:             Jacob Lee
To:               AOuellette@foley.com; GRaux@foley.com; WDelValle@foley.com
Cc:               Owino Team
Subject:          Owino - ESI Meet and Confer
Date:             Wednesday, October 17, 2018 5:25:11 PM
Attachments:      image001.gif
                  image002.png
                  DEF Proposed ESI Search Terms.pdf


Alan and Geoff,

Our proposed search terms are attached for your review, as we discussed this morning. The list of
custodians included with the search terms is the same list we previously sent you.

We hope to be able to provide you with the date ranges during which ICE detainees were housed at
those facilities that have not housed ICE detainees continuously for the past 10 years soon, as well as
the job titles and tenures for the FSC custodians we listed.

This will also confirm that we are not doing the site visit at OMDC on Tuesday 10/30 at 1:30 p.m.
Pacific. It will further confirm the objections we discussed during the call, namely:

    1.  We cannot allow Plaintiffs’ counsel to bring their own cameras—whether still or video—into
       the facility, as these pose a risk to the safety and security of the facility. As an alternative, we
       will have a facility staff member accompanying us on the visit with a camera, who will be
       able to take any shots requested by Plaintiffs’ counsel. You will be able to review the shots
       on the camera to ensure they capture what you wanted them to capture. Before we
       produce copies of the photos, however, we will review them to ensure no safety- or
       security-sensitive information is inadvertently included.
    2. We cannot allow the inspection to last longer than 2 hours. Due to the layout of the facility,
       facility operations must be suspended during the site visit to ensure that no detainees are
       captured in the photographs. Any such suspension disrupts facility operations, but a
       suspension longer than 2 hours will unreasonably do so.

Additionally, although we did not discuss it during today’s call, we have discussed before that the
site visit may not be used to interview staff or detainees. We have previously provided instructions
on how to arrange interviews with particular detainees, and Plaintiffs may utilize the procedures
under the Federal Rules for depositions for staff members they wish to speak with. The site visit is to
allow Plaintiffs’ counsel to see the facility, nothing more (indeed, the request seeks only to “inspect”
the facility). Similarly, although counsel will be permitted to “inspect” (i.e., see) areas such as, for
example, those “where detainee records are kept and stored,” they will not be permitted to review
records during the site visit, or to request a demonstration of the computer-based records systems.

Jacob



Jacob B. Lee



                                                  EXHIBIT 2
                                                    009
Attorney

STRUCK LOVE BOJANOWSKI & ACEDO, PLC
3100 West Ray Road | Suite 300 | Chandler AZ 85226
480.420.1641 | jlee@strucklove.com | STRUCKLOVE.COM




                                                EXHIBIT 2
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EXHIBIT 3




EXHIBIT 3
EXHIBIT 3
  011
